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                      UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF INDIANA
                          INDIANAPOLIS DIVISION

  LYNN STARKEY,               )
                              )
       Plaintiff,             )
                              )
       v.                     )                  Case No. 1:19-cv-03153-RLY-TAB
                              )
  ROMAN CATHOLIC ARCHDIOCESE )
  OF INDIANAPOLIS, INC. and   )
  RONCALLI HIGH SCHOOL, INC., )
                              )
       Defendants.            )

           DEFENDANTS’ MOTION TO EXPEDITE CONSIDERATION
            OF DEFENDANTS’ MOTION FOR CERTIFICATION FOR
            INTERLOCUTORY APPEAL UNDER 28 U.S.C. § 1292(b)
     Defendants the Roman Catholic Archdiocese of Indianapolis and Roncalli High

  School, Inc. (collectively, “the Archdiocese”) respectfully request that the Court

  expedite its consideration of Defendants’ Motion for Certification for Interlocutory

  Appeal under 28 U.S.C. § 1292(b) (Dkt. 95) and resolve that motion by March 1, 2021.

  Plaintiff Starkey opposes this motion.

                                     BACKGROUND

     The Archdiocese filed its motion for certification on October 28, 2020 (Dkt. 95),

  and briefing was completed on November 16, 2020 (Dkt. 105). In the meantime, to

  prevent the irreparable loss of First Amendment rights, the Archdiocese also filed an

  appeal with the Seventh Circuit under the collateral order doctrine (Dkt. 108).

     On November 23, 2020, the Seventh Circuit requested memoranda from both

  parties regarding its jurisdiction to entertain the appeal under the collateral-order

  doctrine. After reviewing those memoranda, the Seventh Circuit on January 13, 2021,

  set the case for full briefing on the merits and ordered the parties to “fully address in

  their respective briefs … the issue of appellate jurisdiction.” The Archdiocese’s


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  opening brief is now due on March 1, 2021, Plaintiff’s brief is due on March 31, 2021,

  and the Archdiocese’s reply is due on April 21, 2021. The Archdiocese also intends to

  seek a 30-day extension of the time to file its opening brief.

                                       ARGUMENT

     Given the pending Seventh Circuit appeal and appellate briefing schedule, prompt

  resolution of the Archdiocese’s certification motion would promote judicial economy

  in two ways.

     First, because this Court has not yet certified its order for interlocutory appeal,

  the Seventh Circuit has ordered briefing both on the merits of the appeal and on the

  question of appellate jurisdiction under the collateral order doctrine. However, if this

  Court certifies its order for interlocutory appeal, and the Seventh Circuit grants

  permission to appeal, briefing and decision on the collateral order doctrine will be

  unnecessary—sparing both parties the need to brief the issue, and relieving the

  Seventh Circuit of having to decide the sometimes-complex question of collateral-

  order jurisdiction.

     Second, granting certification expeditiously would ensure the Seventh Circuit has

  an immediate opportunity to consider the threshold defenses rejected in this Court’s

  decision on the motion for judgment on the pleadings. The Seventh Circuit has

  already requested briefing on the merits of those threshold defenses. Any one of those

  defenses, if found meritorious by the Seventh Circuit, would dramatically narrow the

  issues in this litigation or, more likely, resolve this litigation in full. Thus, prompt

  certification would foster judicial economy by ensuring that this Court does not

  engage in further costly trial-level proceedings unnecessarily.

     In short, this Court has already recognized that this case presents “difficult

  questions” about the application of “civil rights laws to religious institutions.” Dkt. 93

  at 1. Allowing the Seventh Circuit to resolve those questions via certification would

  further judicial economy for this Court, for the parties, and for the Seventh Circuit.

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                                    CONCLUSION

     The Archdiocese respectfully requests that the Court issue a ruling on Defendants’

  Motion for Certification for Interlocutory Appeal Under 28 U.S.C. § 1292(b) by March

  1, 2021.

                                         Respectfully submitted,

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                            CERTIFICATE OF SERVICE

     I hereby certify that a copy of the foregoing has been served upon the following on

  February 9, 2021 by this Court’s electronic filing system:

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